     Case 1:14-bk-15182-GM       Doc 315 Filed 05/05/21 Entered 05/05/21 16:06:44              Desc
                                   Main Document Page 1 of 2



1
2
                                                                    FILED & ENTERED
3
4                                                                         MAY 05 2021
5
                                                                     CLERK U.S. BANKRUPTCY COURT
                                                                     Central District of California
6                                                                    BY egonzale DEPUTY CLERK


7
8
                             UNITED STATES BANKRUPTCY COURT
9
                              CENTRAL DISTRICT OF CALIFORNIA
10
                               SAN FERNANDO VALLEY DIVISION
11
12
13   In re:                                         Case No.: 1:14-bk-15182-GM
14   Mark Alan Shoemaker                            CHAPTER 7
15                                                  TENTATIVE RULING ON OBJECTION TO
                                                    CLAIM #4 OF PEDRO NAPOLES
16
17                                                  Date:      May 4, 2021
                                                    Time:      10:00 AM
18                                    Debtor(s).    Courtroom: 303

19
20            The claim is for $8,500. The attachments show that $1,000 was paid to the Law
21   Offices of Mark Shoemaker; there were three checks to Advocate For Fair Lending,
22   totaling $7,500. Shoemaker was suspended from practice on May 31, 2010 and he
23   sent Mr. Naples a notice to that effect on June 1, 2010.
24            On February 18, 2010, Shoemaker filed a petition under chapter 13 (1:10-bk-
25   15744), which was dismissed on March 15, 2010. The current chapter 7 case was filed
26   on May 25, 2010. Shoemaker filed a motion to extend the automatic stay on May 26,
27   2010 and set it for hearing on June 23, 2010 (dkt. 3). Apparently there was some
28   problem with that hearing date and on June 24, 2010 he filed an application to shorten




                                                   -1-
     Case 1:14-bk-15182-GM      Doc 315 Filed 05/05/21 Entered 05/05/21 16:06:44            Desc
                                  Main Document Page 2 of 2



1    time for a hearing on that motion (dkt. 9). The application to shorten time was denied
2    on July 6, 2010 (dkt. 11) and the hearing was set for August 4, 2010. The court entered
3    its order denying the motion to impose the stay on November 17, 2010 (dkt. 32).
4           11 USC §362(c)(3) applies when a second bankruptcy case is filed by an
5    individual within a one year period of a prior case that was dismissed. Under these
6    circumstances, the automatic stay terminates 30 days after the filing of the current

7    chapter 7 petition unless the stay is extended by the court. The motion to extend

8    requires notice and a hearing that is completed within the 30 day period after the

9    subsequent case is filed. In this case the hearing was not completed within the 30 day

10   period and, even if it had been, the motion to extend the stay was denied. Thus, the

11   automatic stay in the current case terminated by force of law on June 24, 2010, even

12   though the order denying the motion to extend was not entered until November 17,

13   2010. The record clearly shows that there was no hearing within the 30 days – in fact

14   the application to shorten time was filed the day before the last day of the stay and no

15   hearing was held on that day. Thus the stay terminated as a matter of law on June 24,

16   2010. The longest statute of limitations would be 4 years for breach of a written

17   contract. That expired no later than June 2014. No legal action was filed by Mr.

18   Napoles, so his claim is unenforceable. Sustain the objection.

19   ###

20
21
22
23
24
           Date: May 5, 2021
25
26
27
28




                                                 -2-
